                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER

 UNITED STATES OF AMERICA,                           )
                                                     )
 Plaintiff,                                          )
                                                     )            Case No. 4:13-cr-11
 v.                                                  )
                                                     )            Judge Mattice
                                                     )
 MICHAEL O. BROWN,                                   )            Magistrate Judge Lee
                                                     )
 Defendant.                                          )
                                                     )

                                                ORDER

         On October 24, 2014, United States Magistrate Judge Susan K. Lee filed a Report

 and Recommendation (Doc. 534) pursuant to 28 U.S.C. § 636(b)(1). Magistrate Judge

 Lee recommended that Defendant’s Motion to Suppress Wiretap (Doc. 512) be denied.

 (Doc. 534 at 9).

         Defendant has filed no objections to the Magistrate Judge’s Report and

 Recommendation.1 Nevertheless, the Court has reviewed the record in this matter, and

 it agrees with the Magistrate Judge’s well-reasoned conclusions.

         Accordingly, the Court ACCEPTS and ADOPTS Magistrate Judge Lee’s findings

 of fact and conclusions of law, and Defendant’s Motion to Suppress Wiretap (Doc. 512)

 is hereby DENIED.




 1 Magistrate Judge Lee specifically advised Defendant that he had 14 days in which to object to the Report

 and Recommendation and that failure to do so would waive his right to appeal. (Doc. 534 at 9); see Fed.
 R. Crim. P. 59(b)(2); see also Thomas v. Arn, 474 U.S. 140, 148-51 (1985) (noting that “[i]t does not
 appear that Congress intended to require district court review of a magistrate's factual or legal
 conclusions, under a de novo or any other standard, when neither party objects to those findings”).



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       SO ORDERED this 19th day of November, 2014.


                                             /s/ Harry S. Mattice, Jr._______
                                             HARRY S. MATTICE, JR.
                                          UNITED STATES DISTRICT JUDGE




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